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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

 

LILLIAN ROBERTS as Executive Director of District
Council 37, AFSCME, AFL-CIO, DISTRICT COUNCIL 37,
AFSCME, AFL-CIO, DENNIS IFILL, as President of the
Rent Regulation Services Unit Employees, Local 1359,
District Council 37, AFSCME, AFL-CIO, THE RENT
REGULATION SERVICES UNIT EMPLOYEES, LOCAL
1359, CLIFFORD KOPPELMAN, as President of the Court, Civil Case No.: 12-cv-0046
County and Department of Probation Employees Unit,
Local 1070, THE COURT, COUNTY, AND DEPARTMENT
OF PROBATION EMPLOYEES UNIT, LOCAL 1070 and (MAD/DRH)
MILDRED BROWN, SHANOMAE WILTSHIRE, NORMA
GALLOWAY, CHARMAINE HARDAWAY, MAURICE
BOUYEA, STEVEN SCHWARTZ, on behalf of themselves
and all others similarly situated,
Plaintiffs,

-against-

THE STATE OF NEW YORK, ANDREW M. CUOMO, as
Governor of the State of New York, NEW YORK STATE
CIVIL SERVICE DEPARTMENT, PATRICIA A. HITE, as
Acting Commissioner, New York State Civil Service
Department, NEW YORK STATE CIVIL SERVICE
COMMISSION, CAROLINE W. AHL and J. DENNIS
HANRAHAN, as Commissioners of the New York State
Civil Service Commission, ROBERT L. MEGNA, as Director
of the New York State Division of the Budget, and THOMAS
P. DiNAPOLI, as Comptroller of the State of New York, and
NEW YORK STATE AND LOCAL RETIREMENT
SYSTEM,

Defendants.

 

PLAINTIFFS’ REPLY MEMORANDUM OF LAW IN FURTHER SUPPORT OF THE
MOTION TO AMEND THE COMPLAINT

ROBIN ROACH

GENERAL COUNSEL

DISTRICT COUNCIL 37, AFSCME, AFL-CIO
Attorney for Plaintiffs

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Bar Roll No.: 516294
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PRELIMINARY STATEMENT
Plaintiffs submit this Reply Memorandum of Law in further support of the motion to amend
the complaint and in response to defendants’ Opposition to Plaintiffs’ Motion to Amend Complaint.
Defendants posit that plaintiffs’ proposed amendments are futile and were previously dismissed. For
the reasons stated below, plaintiffs assert that defendants cannot establish that the proposed
amendments are futile and, further, the proposed amendments were not previously dismissed. To the
extent there are claims that were erroneously included in the proposed Amended Complaint, said
error should not constitute a basis for denying the motion to amend.
ARGUMENT
POINT I

PLAINTIFFS’ PROPOSED AMENDMENTS TO THE

COMPLAINT ARE NOT FUTILE AS THIS COURT HAS

ALREADY DETERMINED THAT THE DISPUTED CLAIMS

MAY PROCEED

The parties in this action do not dispute that “a party may amend its pleading [ | with the

opposing party’s written consent or the court’s leave.” Fed. R. Civ. P. 15(a)(2). Neither is there a
dispute that “the court should freely give leave when justice so requires” where a party is seeking the
court’s permission to amend a pleading. Jd. Further, courts have made clear that, “[i]fthe underlying
facts or circumstances relied upon by a plaintiff may be a proper subject of relief, he ought to be
afforded an opportunity to test his claim on the merits.” Foman v. Davis, 371 U.S. 178, 182; 83 S.

Ct. 227 (1962); Laurent v. PricewaterhouseCoopers LLP, 2012 U.S. Dist. LEXIS 118109 (S.D.N.Y.

Aug. 12, 2012).
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Nevertheless, leave to amend a complaint may properly be denied if permitting the
amendment would be futile, cause undue delay, where there is a showing of bad faith or undue
prejudice to the opposing party may result. See Holmes v. Grubman, 568 F.3d 329 (2d Cir. 2009);
Brown y. New York, 975 F. Supp.2d 209, 231 (N.D.N.Y., Sept. 30, 2013).

Thus, even though defendants recognize the general principle in favor of permitting parties to
amend their pleadings, they argue that, in the instant matter, plaintiffs should not be permitted to
amend the complaint because doing so would be futile. See Dkt. No. 45, p.2. Defendants do not base
their opposition to the motion to amend on any other grounds, such as, bad faith, undue delay by the
plaintiffs or undue prejudice. Defendants explain, instead, that the proposed amendments are futile
because plaintiffs have failed to sufficiently allege the personal involvement of the individual
defendants to make out a colorable claim under 42 U.S.C. § 1983. See Dkt. No. 45, p.2. To prevail
in their futility claim, defendants must establish that plaintiffs’ proposed amendments could not
survive a motion to dismiss under FRCP Rule 12 (b)(6). See Lucente v. Int’l Bus. Machs. Corp.,
310 F.3d 243, 258 (2d Cir. 2002); Brown v. New York, supra, 975 F. Supp. 2d 209, 231; Hines v.
City of Albany, 542 F. Supp. 2d 218, 224, aff'd, 2013 U.S. App. LEXIS 6273 (2d Cir. 2013).
Furthermore, there is no requirement that plaintiffs prove their case or the merits of their proposed
amended claims. See Spencer v. Arizona Premium Finance Co., Inc.,2008 U.S. Dist. LEXIS 104851
(W.D.N.Y., Dec. 24, 2008), dismissed on other grounds, 2011 U.S. Dist. LEXIS 109352 (W.D.N.Y.,
Sept. 24, 2011).

Here, plaintiffs have alleged in the proposed Amended Complaint that defendants Cuomo,

Hite, Megna and DiNapoli by their own actions violated plaintiffs’ rights. See Dkt. No. 43, Appx. 2,
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4] 22, 24, 30, 31. Moreover, in at least two decisions involving companion cases before this Court,
N.Y.S. Correctional Officers and Police Benevolent Assoc., et al. v. State of New York, Index No. 11-
CV-1523 at Dkt. No, 22 and N.Y.S. Police Investigators Assoc., Local 4 IUPA, AFL-CIO, et al. v.
State of New York, 11-CV-1527 at Dkt. No. 18, which substantially assert identical allegations
against the defendants in their individual capacities, District Judge Mae D’ Agostino did not grant
defendants’ Rule 12(b)(6) motion on the basis that plaintiffs failed to allege sufficient personal
involvement. See 11-CV-1523 at Dkt. No. 22 and 11-CV-1527 at Dkt. No. 18. Thus, defendants
cannot meet their burden of showing that the proposed amendments are futile as identical claims
have already survived a Rule 12(b)(6) motion.
POINT II

THE PROPOSED AMENDED COMPLAINT DOES NOT

ALLEGE CLAIMS AGAINST STATE AGENCIES AND

PROPERLY ASSERTS CLAIMS AGAINST DEFENDANTS IN

THEIR OFFICIAL CAPACITIES

Contrary to defendants’ assertions, the proposed Amended Complaint removes all claims

against the State entities, consistent with the Court’s December 3, 2012 Decision and Order (Dkt.
No. 19) on defendants’ motion to dismiss in this case. See Dkt. No. 43, Appx. 2. In addition, the
proposed amendments preserve the claims for prospective injunctive and declaratory relief against
defendants Cuomo, Hite, Ahl, Hanrahan, Megna and DiNapoli in their official capacities as these
claims were not dismissed and the Court has expressly retained jurisdiction over said claims. See
Dkt. No. 19, p.16.

Plaintiffs’ Fourth Cause of Action alleges violations of State law. To the extent that these

claims may be characterized as Article 78 claims and were improperly included in the proposed
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Amended Complaint, Plaintiffs will correct this error should the Court grant its motion to amend.
The mistake was inadvertent, minor and easily correctable. It was not made in bad faith, and will not
cause undue delay or undue prejudice to the defendants. Plaintiffs further assert that the motion
should not be denied on the basis of an error that can be corrected.
CONCLUSION

Plaintiffs proposed amendments are not futile. The amendments have already survived a
FRCP Rule 12(b) motion to dismiss in at least two related cases and the proposed Amended
Complaint substantially complies with Judge D’Agostino’s Decision and Order, rendered on
December 3, 2012. Therefore, for all the foregoing reasons, plaintiffs’ motion to amend the
Complaint should be granted.

Dated: New York, New York
July 8, 2014

Respectfully submitted,

ROBIN ROACH

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(Via ECF)

CERTIFICATE OF SERVICE
[hereby certify that on July 8, 2014, I electronically filed the aforementioned document with
the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served this
day on all counsel of record or pro se litigants identified above in the manner specified, either via
transmission of Notices of Electronic Filing generated by CM/ECF or in some other authorized
manner for those counsel or parties who are not authorized to receive Notices of Electronic Filing

electronically.
